                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE


Cathy Bashaw, et al.
                                       Plaintiff,
v.                                                      Case No.: 3:19−cv−00843

Nissan North America, Inc., et al.
                                       Defendant,

                ORDER ON MOTION TO APPEAR PRO HAC VICE

      Having satisfied the requirements of Local Rule 83.01(b), the motion to appear pro
hac vice (Doc. No. 87) of Frederick J. Klorczyk, III is GRANTED.



                                                        s/ Kirk L. Davies, Clerk of Court




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